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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

    AMERITAS LIFE INSURANCE CORP.,

                      Plaintiff,

            V.                                              C.A. No. 1:23-cv-00236(GBW)

    WILMINGTON SAVIN GS FUND SOCIETY,
    FSB, SOLELY AS SECURITIES
    INTERMEDIARY,

                      Defendant.

                                   (PIWPOSD) JOINT SCHEDULING ORDER
                                        [NON-PATENT; JURY TRIAL)

           Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure and Local Rule 16.1,

  Ameritas Life Insurance Corp. ("Ameritas" or "Plaintiff') and Wilmington Savings Fund Society,

  FSB, Solely as Securities Intermediary ("WSFS" or "Defendant," collectively with Ameritas, the

  "Parties") jointly agree and respectfully request that the Court orders as follows:

           1.         Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard. Unless

  otherwise agreed to by the Parties, the Parties shall make their initial disclosures pursuant to

  Federal Rule of Civil Procedure 26(a)(l) within fourteen (14) days of the date the Court enters

  this Order. If they have not already done so, the Parties are to review the Court' s Default Standard

  for Discovery, Including Discovery of Electronically Stored Information ("ESI"), which is posted

  at http://www.ded.uscourts.gov (see Other Resources, Default Standard for Discovery) and is

   incorporated herein by reference.

           2.         Joinder of Other Parties and Amendment of Pleadings. All motions to join other

   parties, and to amend or supplement the pleadings, shall be filed on or before June 30, 2023.




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  Unless otherwise ordered by the Court, any motion to join a party or motion to amend the pleadings

  shall be made pursuant to the procedures set forth in Paragraphs 3(g) and 4 infra.

           3.         Discovery. Unless otherwise ordered by the Court or agreed to by Parties, the

  limitations on discovery set forth in the Federal Rules of Civil Procedure shall be strictly observed.

                      a.     Fact Discovery Cut Off. All fact discovery in this case shall be initiated so

           that it will be completed on or before February 9, 2024.

                      b.         Document Production. Party document production shall be substantially

           complete by November 17, 2023 . Productions shall be made on a rolling basis.

                      c.         Requests for Admission. There is no limit on the number of requests for

           admission permitted by each side.

                      d.         Interrogatories. A maximum of 25 interrogatories, including contention

           interrogatories, are permitted for each side. The Court encourages the Parties to serve and

           respond to contention interrogatories early in the case. In the absence of agreement among

           the Parties, contention interrogatories, if filed, shall first be addressed by the party with the

           burden of proof. The adequacy of all interrogatory answers shall be judged by the level of

           detail each party provides (i.e., the more detail a party provides, the more detail a party

           shall receive). A Party may request additional interrogatories for good cause. Good cause

           shall not include that a Party' s prior interrogatories were objectionable.

                      e.         Depositions.

                            1.          Limitation on Hours for Deposition Discovery.

                                 Each side is limited to a total of 105 hours of taking testimony by deposition

                      upon oral examination, with no deposition of any single individual witness

                      exceeding 7 hours.



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                            11.          Location of Depositions. Any party or representative (officer,

                      director, or managing agent) of a party filing a civil action in this district court must

                      ordinarily be required, upon request, to submit to a deposition at a place designated

                      within this district. Exceptions to this general rule may be made by order of the

                      Court. A defendant who becomes a counterclaimant, cross-claimant, or third-party

                      plaintiff shall be considered as having filed an action in this Court for the purpose

                      of this provision.

                      f.          Disclosure of Expert Testimony.

                             1.          Expert Reports. Disclosure of affirmative expert reports under

                      Federal Rule of Civil Procedure 26(a)(2) is due on or before March 9, 2024.

                      Rebuttal expert reports are due on or before April 5, 2024. Reply expert reports are

                      due on or before April 19, 2024. No other expert reports will be permitted without

                      either the consent of all Parties or leave of the Court. Along with the submissions

                      of the expert reports, the Parties shall contemporaneously advise of the dates and

                      times of their experts ' availability for deposition.

                            11.          Objections to Expert Testimony. To the extent any objection to

                      expert testimony is made pursuant to the principles announced in Daubert v.

                      Merrell Dow Pharmaceuticals, Inc. , 509 U.S. 579 (1993), as incorporated in

                      Federal Rule of Evidence 702, it shall be made by motion no later than the deadline

                      for motions in limine set forth herein, unless otherwise ordered by the Court.

                           111.          Expert Discovery Cut Off. All expert discovery in this case shall be

                      initiated so that it will be completed on or before May 17, 2024.




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                      g.         Discovery Matters and Disputes Relating to Protective Orders.

                            1.          Any discovery motion filed without first complying with the

                      following procedures will be denied without prejudice to renew.

                           11.          Should counsel find, after good faith efforts-including verbal

                      communications among Delaware and Lead Counsel for all Parties to the dispute-

                      that they are unable to resolve a discovery matter or a dispute relating to a protective

                      order, the Parties involved in the discovery matter or protective order dispute shall

                      submit a joint letter in substantially the following form:

                                        Dear Judge Williams:

                                               The parties in the above-referenced matter
                                        write to request the scheduling of a discovery
                                        teleconference.

                                                The following attorneys, including at least
                                        one Delaware Counsel and at least one Lead Counsel
                                        per party, participated in a verbal meet-and-confer
                                        (in person and/or by telephone) on the following
                                        date(s): - - - - - - - -

                                        Delaware Counsel: - - - - - - -
                                        Lead Counsel: - - - - - - - -

                                                The disputes requiring judicial attention are
                                        listed below:

                                        [provide here a non-argumentative list of disputes
                                        requiring judicial attention]

                           iii.         On a date to be set by separate order, generally not less than forty-

                      eight (48) hours prior to the conference, the party seeking relief shall file with the

                      Court a letter, not to exceed three (3) pages, outlining the issues in dispute and its

                      position on those issues. On a date to be set by separate order, but generally not less

                      than twenty-four (24) hours prior to the conference, any party opposing the


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                      application for relief may file a letter, not to exceed three (3) pages, outlining that

                      party ' s reasons for its opposition.

                           1v.          Each party shall submit two (2) courtesy copies of its discovery

                      letter and any attachments.

                            v.          Should the Court find further briefing necessary upon conclusion of

                      the conference, the Court will order it. Alternatively, the Court may choose to

                      resolve the dispute prior to the conference and will, in that event, cancel the

                      conference.

           4.         Motions to Amend.

                      a.         Any motion to amend (including a motion for leave to amend) a pleading

           shall NOT be accompanied by an opening brief but shall, instead, be accompanied by a

           letter, not to exceed three (3) pages, describing the basis for the requested relief, and shall

           attach the proposed amended pleading as well as a "blackline" comparison to the prior

           pleading.

                      b.         Within seven (7) days after the filing of a motion in compliance with this

           Order, any party opposing such a motion shall file a responsive letter, not to exceed five

           (5) pages.

                      c.         Within three (3) days thereafter, the moving party may file a reply letter,

           not to exceed two (2) pages, and, by this same date, the Parties shall file a letter requesting

           a teleconference to address the motion to amend.

           5.         Motions to Strike.

                      a.         Any motion to strike any pleading or other document shall NOT be

           accompanied by an opening brief but shall, instead, be accompanied by a letter, not to



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           exceed three (3) pages, describing the basis for the requested relief, and shall attach the

           document to be stricken.

                       b.     Within seven (7) days after the filing of a motion in compliance with this

            Order, any party opposing such a motion shall file a responsive letter, not to exceed five

            (5) pages.

                       c.     Within three (3) days thereafter, the moving party may file a reply letter,

            not to exceed two (2) pages, and, by this same date, the Parties shall file a letter requesting

            a teleconference to address the motion to strike.

            6.         Application to Court for Protective Order. Should counsel find it will be

  necessary to apply to the Court for a protective order specifying terms and conditions for the

  disclosure of confidential information, counsel should confer and attempt to reach an agreement

  on a proposed form of order and submit it to the Court within fourteen (14) days from the date

  the Court enters this Order. Should counsel be unable to reach an agreement on a proposed form

  of order, counsel must follow the provisions of Paragraph 3(g) above.

                       Any proposed protective order must include the following

                       paragraph:


                       Other Proceedings. By entering this order and limiting the disclosure
                       of information in this case, the Court does not intend to preclude
                       another court from finding that information may be relevant and
                       subject to disclosure in another case. Any person or party subject to
                       this order who becomes subject to a motion to disclose another
                       party's information designated "confidential" [the parties should list
                       any other level of designation, such as "highly confidential," which
                       may be provided for in the protective order] pursuant to this order
                       shall promptly notify that party of the motion so that the party may
                       have an opportunity to appear and be heard on whether that
                       information should be disclosed.




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           7.         Papers Filed Under Seal. In accordance with section G of the Revised

  Administrative Procedures Governing Filing and Service by Electronic Means, a redacted version

  of any sealed document shall be filed electronically within seven (7) days of the filing of the sealed

  document.

           8.         Courtesy Copies. The Parties shall provide to the Court two (2) courtesy copies of

  all filings (i.e., briefs, appendices, exhibits, declarations, affidavits etc.). Courtesy copies of

  appendices and exhibits should include hard tabs. This provision also applies to papers filed under

   seal.

           9.         Case Dispositive Motions.

                      a.     All case dispositive motions, an opening brief, and affidavits, if any, in

           support of the motion shall be served and filed on or before June 14, 2024. Briefing will

           be presented pursuant to the Court's Local Rules. No case dispositive motion under Rule

           56 may be filed more than ten (10) days before the above date without leave of the Court.

           All oppositions to case dispositive motions shall be served and filed on or before July 12,

           2024. All replies in further support of case dispositive motions shall be served and filed

           on or before July 26, 2024.

                      b.     The Parties disagree on the page limitations for any memorandum of law in

           support of a motion for summary judgment and corresponding statement of facts. The

           Parties' respective proposals for the page limitations for any memorandum of law in

           support of a motion for summary judgment and statement of facts, as well as the reasons

           in support thereof, are delineated below.




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                           i.       Ameritas' Proposal re Page Limitations:             NO i (~f(<S'
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                     For the reasons provided below, Ameritas proposes that an~                         aw IQ!'-      Lt
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          than
                 in support of, or in opposition to, any motion for summary judgment shall be no more

                     irty (30) pages; that any replies shall be no more than fifteen (15) pages; and that

                        ent or counterstatement of facts under Local Rule 7 .1.3(c)( 1)(E) shall be no more
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                                                                                                                '\){~'\}"-"'~




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                                                                                                                fJt-S °'"~
                     This c se arises out of a dispute between the Parties whether a policy insuring the
                                                                                                               Cxt~Jr*
          life of Marvin F ks (the "Policy") has insurable interest under Delaware law or whether it           ~~
          was a stranger ori inated life insurance ("STOLi") policy taken out so that investors                ~
                                                                                                               -~{f'l'-
          without insurable                      wager on Mr. Flak' s life. In an attempt "to feign           :;f~J\"(5
          compliance with                   interest laws," STOLi promoters often disguised and~ ,

          camouflaged what they we          doing and dressed the transactions up to appear legitimate

          PHL Var. Ins. Co. v. Price D         2006 Ins. Trust, 28 A.3d 1059, 1076 (Del. 2011); see also

          Sciarretta v. Lincoln Nat 'l Life ns. Co., 778 F.3d 1205, 1208-09 (11th Cir. 2015)

          (describing a "carefully designed          cheme to get around insurable interest laws").

          Accordingly, the Delaware Supreme Co rt requires courts applying Delaware law to look

          past the mere form of the transaction and to "scrutinize the circumstances under which the

          policy was issued and determine who in fact p cured or effected the policy." Price Dawe

          2006 Ins. Trust, 28 A.3d at 1076.

                     STOLi cases are almost always disposed of i connection with cross-motions for

          summary judgment. The cross-motions typically deal wi           a number of issues. Not only do

          the parties argue about insurable interest, but in an attem t to avoid Delaware ' s laws

          against human life wagering, STOLi defendants often try to arg          that a law other than the



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          state of De law e applies. These arguments (validity and, ifraised, choice oflaw) typically

                                leading up to policy inception and are generally governed by the

          Delaware Supreme ourt' s decisions in Price Dawe and Berland. See Price Dawe, 28 A.3d

          at 1076; Estate of Ber ndv. Lavastone Capital, 2022 WL 15023450, at *7 (D. Del. Sept.

          28, 2022) ("Berland").       e cross-motions also typically address the STOLi investor's

          claim that if the policies ar void, they should get a refund of some amount of premium.

          These arguments typically foe son the facts post-dating the policy's inception (e.g., what

          the STOLi investor knew or sho Id have known about the policy's illegal origination) and

          are generally governed by the Del .ware Supreme Court decisions in Seek and Frankel &

          De Bourbon. See Geronta Funding v.      righthouse Life Ins. Co., 284 A.3d 47, 71-73 (Del.

          2022) ("Seek''); Wilmington Tr. , Nat'! ss'n v. Sun Life Assurance Co. of Canada, 2023

          WL 2564350, at *13 (Del. Mar. 20, 20          ) ("Frankel & De Bourbon"). The summary

          judgment cross-motions also typically invol     litigation over any affirmative defenses and

          counterclaims raised by the STOLi defenda ts. Doing all of this through summary

          judgment cross-motions typically requires more space than courts' usual default page

          limitations, and Ameritas has no reason to belie e that the instant case will be any

          different.

                     Indeed, this Court and other courts applying      laware law to similar STOLi

          programs have not only granted the parties leave to exceed     ditional page limitations, but

          have then issued thorough opinions analyzing the record and          e law and declaring such

          policies to lack insurable interest at inception under Delaware la     on summary judgment.

          See, e.g., Sun Life v. US. Bank, 369 F. Supp. 3d 601 , 605-06             Del. 2019) ("Sof');

          Berland, 2022 WL 15023450, at *1-2; Sun Life v. US. Bank, 2016



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           Jan. 14, 2016) ("Ma "n"); US. Bank v. Sun Life, 2016 WL 8116141, at *3-6 (E.D.N.Y.

           Aug. 30, 2016) ("Van e Wetering''); Estate of Malkin v. Wells Fargo, 379 F. Supp. 3d

            1263, 1266-68 (S.D. Fla. March 29, 2019), aff'd 998 F.3d 1186 (11th Cir. 2021) ("Estate

           of Malkin"); Estate of Bar tz v. Vida Longevity Fund, 2022 WL 16833545, at *1-3 (Del.

            Super. Ct. Nov. 9, 2022) ("E tate of Barotz"); Frankel & De Bourbon, 2023 WL 2564350,

            at * 13. The page limitations p posed by Ameritas are on par with these prior cases. See,

            e.g., Stip. Re Page Limits, Sol, ·17-CV-00075, Dkt. 126 (D. Del. Oct. 12, 2018) (parties

            stipulated to and the court so ordered a 40-page limit for the parties' opening

            memorandums of law and stateme s of fact in support of their respective motions for

            summary judgment); Plf. Mem. & Sta ment of Facts, Estate of Berland, 1: 18-CV-02002,

            Dkt. 100 & Dkt. 101 (D. Del. July 24, 2 20) (the plaintiffs opening papers consisted of a

            28-page memorandum of law plus a 14-p ge statement of facts); Pl. Statement of Facts,

            Malkin, 2015 WL 9250145 (S.D. Fla. Nov. 1 , 2015) (plaintiffs opening papers consisted

            of a 35-page statement of facts); Pl. Mem., Ma ·n, 2015 WL 9250168 (S.D. Fla. Nov. 16,

            2015) (plaintiffs opening papers consisted of a   -page memorandum of law); Pl. Mem.,

            Van Wetering, 2016 WL 8416336 (E.D.N.Y. Feb. 22, 2016) (plaintiffs opening papers

            consisted of a 25-page memorandum of law in additi n to an 18-page statement of facts) ;

            Pl. Br., Estate ofMalkin, 2018 WL 11270498 (S.D. Fla. ept. 7, 2018) (plaintiffs opening

            papers consisted of a 29-p~ge memorandum of law in ad ition to a 25-page statement of

            facts); Estate of Barotz, C.A. No. N20C-05-144 EMD CCLD (Del. May 4, 2021)

            (plaintiffs opening papers consisted of a 31-page memo rand m of law and statement of

            facts); Stip. Re Page Limits, Frankel & De Bourbon, C.A. No.    7C-08-331 MMJ CCLD,

            Dkt. 266 (Del. Super. June 11, 2021) (entering stipulation perm tting 18,000 words for




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                                              judgment opening and answering briefs, and 12,375 words for



                       This case is still in it            pening stages. But based on the issues involved and the

            experience of prior cases, it is plai that substantial relief from the default page limitations

            will be required. Ameritas therefore b ·eves its extension request is reasonable, prudent,

            and reflects the baseline reality of how thes cases are actually litigated. The reality is that

            STOLI transactions are fraudulent transactions                           rapped up in artifices designed to make

            them look legitimate. Unraveling the insurable inte st fraud and showing the court what

            really happened can take considerable space. STOLI i                                esters know what is under all of

            those layers of artifice; STOLI investors do not want it exp ed or courts scrutinizing it;



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                       WSFS 's proposal is to adopt the language of the Court' s form order, which is both

                                                                case.            eritas simply disagrees with this Court' s

            preference for concise statements, as evidenced by the unnecessary argument section

            WSFS includes in its position statement above.                                To be clear, WSFS disputes these

            arguments, which have no place here. This case is not particularly complex and does not

            warrant the significant departure from the Court' s form order that Ameritas proposes here.

            Furthermore, it is premature for Ameritas to assume it will need ten additional pages for

            its summary judgment brief and twenty-six additional pages for its undisputed statement of

            facts before discovery has even commenced. Finally, WSFS notes that similar lawsuits

            filed by Amertias ' counsel here have also gone to trial. See, e.g. , Estate of Rink v. VICOF

            II Tr., No. 5:20-cv-00039, 2021 WL 6064890 (W.D.N.C. Dec. 20, 2021).



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                      Any motion for summary judgment shall be accompanied by a separate concise

           statement, not to exceed six (6) pages, which details each material fact which the moving

           party contends is essential for the Court' s resolution of the summary judgment motion (not

           the entire case) and as to which the moving party contends there is no genuine issue to be

           tried. Each fact shall be set forth in a separate numbered paragraph and shall be supported

           by specific citation(s) to the record.

                      Any party opposing the motion shall include with its opposing papers a response to

           the moving party's concise statement, not to exceed six (6) pages, which admits or disputes

           the facts set forth in the moving party' s concise statement on a paragraph-by-paragraph

           basis. To the extent a fact is disputed, the basis of the dispute shall be supported by specific

           citation(s) to the record. Failure to respond to a fact presented in the moving party's concise

           statement of facts shall indicate the fact is not in dispute for purposes of summary

           judgment. The party opposing the motion may also include with its opposing papers a

           separate concise statement, not to exceed four (4) pages, which sets forth material facts as

           to which the opposing party contends there is a genuine issue to be tried. Each fact asserted

           by the opposing party shall also be set forth in a separate numbered paragraph and shall be

           supported by specific citation(s) to the record.

                      The moving party shall include with its reply papers a response to the opposing

           party 's concise statement of facts, not to exceed four (4) pages, on a paragraph-by-

           paragraph basis. Failure to respond to a fact presented in the opposing party's concise

           statement of facts shall indicate that fact remains in dispute for purposes of summary

           judgment.




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                      c.     Ranking of Summary Judgment Motions. Any party that files more than one

           summary judgment motion shall number each motion to indicate the order in which the

           party wishes the Court to review its pending motions. The first motion the party wishes the

           Court to consider shall be designated # 1, the second motion shall be designated #2, and so

           on. The Court will review the party 's summary judgment motions in the order designated

           by the party. If the Court decides to deny a motion filed by the party, barring exceptional

           reasons determined sua sponte by the Court, the Court will not review any lower ranked

           summary judgment motions filed by the party.

           10.        Applications by Motion. Except as otherwise specified herein, any application to

   the Court shall be by written motion. Any non-dispositive motion should contain the statement

   required by Local Rule 7 .1.1.

           11.        Motions in Limine. All Motions in limine shall be filed by or before September

   27, 2024 . Motions in limine shall not be separately filed. All in limine requests and responses

   thereto shall be set forth in the proposed pretrial order. Each party shall be limited to three (3) in

   limine requests, unless otherwise permitted by the Court. The in limine request and any response

   shall contain the authorities relied upon; each in limine request may be supported by a maximum

   of three (3) pages of argument, may be opposed by a maximum of three (3) pages of argument,

   and the party making the in limine request may add a maximum of one (1) additional page in reply

   in support of its request. If more than one party is supporting or opposing an in limine request,

   such support or opposition shall be combined in a single three (3) page submission (and, if the

   moving party, a single one (1) page reply), unless otherwise ordered by the Court. No separate

   briefing shall be submitted on in limine requests, unless otherwise permitted by the Court.




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            12.        Pretrial Conference.

                       a.     On January 8, 2025 the Court will hold a pretrial conference in Court with

            counsel beginning at 1:00 p.m. The Parties shall file with the Court the joint proposed final

            pretrial order in compliance with Local Rule 16.3(c) and the Court's Preferences and

            Procedures for Civil Cases not later than seven (7) days before the pretrial conference.

            Unless otherwise ordered by the Court, the Parties shall comply with the timeframes set

            forth in Local Rule 16.3(d)(l )-(3) for the preparation of the joint proposed final pretrial

            order. The Court will advise the Parties at or before the above-scheduled pretrial

            conference whether an additional pretrial conference will be necessary.

                       b.     The Parties shall provide the Court two (2) courtesy copies of the joint

            proposed final pretrial order and all attachments. The proposed final pretrial order shall

            contain a table of contents and the paragraphs shall be numbered.

            13.        Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to be

   tried to a jury, pursuant to Local Rules 4 7.1 (a)(2) and 51.1 the Parties should file (i) proposed voir

   dire, (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms

   seven (7) full days before the final pretrial conference. This submission shall be accompanied by

   a courtesy copy containing electronic files of these documents, in Microsoft Word format, which

   may be submitted by e-mail to gbw_civil@ded.uscourts.gov.

            14.        Trial. This matter is scheduled for a five (5)       day jury trial beginning at

   9:30 a.m. on January 13, 2025, with the subsequent trial days beginning at 9:30 a.m. Until

   the case is submitted to the jury for deliberations, the jury will be excused each day at 5 :30 p.m.

   The trial will be timed, as counsel will be allocated a total number of hours in which to present

   their respective cases.



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           15.        ADR Process. 'Rrts-matter is refei+ea-- to a magistrate judge to explore the            ,,,...,.



           16.        Page/Word Limitations. Where page limits are specified by order or rule, the

   Parties shall use a word-count limit. For each page allowed by order or rule, the Parties shall use

   up to 250 words. For example, where the page limit specified by rule is 20 pages, the maximum

   number of words for a party's submission would be 5,000 (20 x 250). A certification as to the total

   number of words must be included in any submission .

          . 17.       Font. The text for all briefs, letters, motions, and concise statements of fact shall

   be 14-point and in Times New Roman or similar typeface. Each such filing must include a

   certification by counsel that the filing complies with the type, font, and word limitations set forth

   in this Order. The person who prepares the certification may rely on the word count of the word-

   processing system used to prepare the filing.

           18.        Compendium of Cases. A party may submit with any briefing two (2) courtesy

   copies of a compendium of the selected authorities on which the party would like the Court to

   focus . Compendiums of cases shall not be filed electronically with the Court, but a notice of service

   of a compendium of cases shall be filed electronically with the Court.

           19.        Relevant Deadlines and Dates. All relevant deadlines and dates established by

   this Order are set forth in the chart attached as Exhibit A.




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   AGREED TO BY AND BETWEEN:



    COZEN O'CONNOR P.C.                      K&L GATES LLP

    Isl Kaan Kidner                          Isl Matthew B. Goeller
    Kaan Ekiner (No. 5607)                   Steven L. Caponi (No. 3484)
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   SO ORDERED this \) day of July 2023 .


                                                  The Honorable Gregory B. Williams
                                                  United States District Judge




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                                               EXHIBIT A

    Event                                                                         Deadline

    Deadline for the Parties to file their Initial Disclosures and to   14 days after the Court enters
    file a proposed protective order                                             this Order

    Deadline for all motions to join other parties and to amend or             June 30, 2023
    supplement the pleading
    Party document production shall be substantially complete.              November 17, 2023
    Documents shall be produced on a rolling basis
    Close of fact discovery                                                   February 9, 2024

    Affirmative expert reports                                                 March 9, 2024

    Rebuttal expert reports                                                     April 5, 2024

    Reply expert reports                                                       April 19, 2024

    Expert discovery cutoff                                                    May 17, 2024

    Dispositive motions due                                                    June 14, 2024

    Oppositions to dispositive motions due                                      July 12, 2024

    Replies in further support of dispositive motions due                       July 26, 2024

    Deadline motions in limine and Daubert motions due                      September 27, 2024

    Pretrial conference                                                       January 8, 2025

    Jury Trial begins                                                        January 13, 2025




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